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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

SHALON MCNEAL,                 )
        Plaintiff,             )
                     v.        )              No. 23-cv-17127
                               )
CHICAGO PUBLIC SCHOOLS, et al, )              Judge Sara Ellis
         Defendants.           )

                            Defendant’s Status Report

      Defendant Chicago Public Schools (formally known as The Board of

Education of the City of Chicago) reports on the status of the parties’ settlement.

      1.     On February 14th, the parties filed a Joint Motion to advise the Court

that the parties were attempting to settle this case.

      2.     Since then, the parties have executed a binding settlement agreement

that resolves this entire litigation. In that settlement agreement, the parties agreed

that Plaintiff Shalon McNeal would dismiss this entire case (in an unopposed

motion, with each side to bear its own costs) after the Board makes its settlement

payment.

      3.     On March 8, 2024, the Board sent its settlement payment in

accordance with the mailing instructions received from Ms. McNeal’s Counsel. The

Board anticipates that, within the next week, Ms. McNeal will have filed an

unopposed motion to dismiss this lawsuit in its entirety, with each side to bear its

own costs.

      4.     Given that the parties have now settled this case, the Board is not

filing an answer (or motion) under Rule 12 at this time. However, if the Court needs
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the Board to file a formal motion to stay the due date for the Board’s answer or

other motion in response to Ms. McNeal’s Complaint, the Board can file such a

scheduling motion promptly.

      5.     Under the schedule for the case (ECF 12), the parties will owe the

Court a Status Report on April 23, 2024. The Board anticipates that this case will

have been dismissed before then. But if this entire case has not been dismissed by

that April 23rd due date, the Board will file a document to address the status of

these proceedings.

                          Respectfully submitted,

                          Ruchi Verma, General Counsel

March 11, 2024            /s/ Thomas A. Doyle

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                         CERTIFICATE OF SERVICE

      On March 11, 2024, I caused the foregoing document to be filed and served
using the CM/ECF system.




                                 /s/ Thomas A. Doyle
